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AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 1                   (8035)



                 UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF ALABAMA
        UNITED STATES OF AMERICA                            JUDGMENT IN A CRIMINAL CASE
                  V.                                        (For Offenses Committed On or After November 1, 1987)

        KAREN ANNETTE YOUNG                                 CASE NUMBER: 1:05-CR-00198-002
                                                            USM NUMBER: 09148-003

                                                            Dennis J. Knizley, Esquire
                                                            Defendant's Attorney

THE DEFENDANT:
(X) pleaded guilty to count 2 of the Indictment on 8/18/2005 .
() pleaded nolo contendere to count(s) which was accepted by the court.
() was found guilty on count(s) after a plea of not guilty.
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                      Date Offense          Count
Title & Section        Nature of Offense                              Concluded             No.(s)
21 USC § 841(c)(1) Possession of a listed chemical with                6/11/2003              2
                   intent to manufacture a controlled
                   substance.

      The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.


() The defendant has been found not guilty on count(s) .
(X) Counts 1 & 4 are dismissed on the motion of the United States.
         IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines, restitution,
costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the defendant's
economic circumstances.

                                                                July 6, 2006
                                                                Date of Imposition of Judgment

                                                                /s/ Callie V. S. Granade
                                                                CHIEF UNITED STATES DISTRICT JUDGE

                                                                July 12, 2006
                                                                Date
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                                                                                                       Judgment 2
   AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 2 - Imprisonment
   Defendant: KAREN ANNETTE YOUNG
   Case Number: 1:05-CR-00198-002

                                                IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
   imprisoned for a total term of THIRTY-SEVEN (37) MONTHS              .

            (X) The court makes the following recommendations to the Bureau of Prisons: That the
            defendant be imprisoned at an institution where a residential, comprehensive, substance
            abuse treatment program is available.

   ()      The defendant is remanded to the custody of the United States Marshal.

   ()      The defendant shall surrender to the United States Marshal for this district:
            ()      at       a.m./p.m. on         .
            ()      as notified by the United States Marshal.

   (X) The defendant shall surrender for service of sentence at the institution designated by the Bureau
           of Prisons:
            () before 2 p.m. on .
            (X) as notified by the United States Marshal.
            ()  as notified by the Probation or Pretrial Services Office.

                                                      RETURN

I have executed this judgment as follows:




Defendant delivered on                     to                                    at

with a certified copy of this judgment.

                                                                               UNITED STATES MARSHAL


                                                                          By
                                                                                      Deputy U.S. Marshal
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                                                                                                        Judgment 3
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 3 - Supervised Release
Defendant: KAREN ANNETTE YOUNG
Case Number: 1:05-CR-00198-002
                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years .

(X) Special Conditions: 1) The defendant shall participate in a program of testing and
treatment for drug and/or alcohol abuse, as directed by the Probation Office; 2) The defendant is
prohibited from making major purchases, incurring new credit charges, or opening additional
lines of credit without approval of the Probation Officer, until such time as the financial
obligations imposed by this court have been satisfied in full; 3) The defendant shall provide the
Probation Office access to any requested financial information; and 4) The defendant shall make
restitution as set forth on Sheets 5, Part A & 5, Part B of this Judgment.


        For offenses committed on or after September 13, 1994: The defendant shall refrain
        from any unlawful use of a controlled substance. The defendant shall submit to one drug
        test within 15 days of release from imprisonment and at least two periodic drug tests
        thereafter, as directed by the probation officer.
()      The above drug testing condition is suspended based on the court’s determination that the defendant poses
        a low risk of future substance abuse. (Check, if applicable)
()      The defendant shall register with the state sex offender registration agency in the state where the
        defendant resides, works, or is a student, as directed by the probation officer. (Check, if applicable)
() The defendant shall participate in an approved program for domestic violence. (Check, if applicable)
(X) The defendant shall not possess a firearm, destructive device, or any other dangerous
        weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution that remains unpaid at the commencement of the term
of supervised release in accordance with the Schedule of Payments set forth in the Criminal Monetary
Penalties sheet of this judgment. The defendant shall report to the probation office in the district to
which the defendant is released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court
(Probation Form 7a).
The defendant shall also comply with the additional conditions on the attached page (if
applicable).


                                  See Page 4 for the
                       "STANDARD CONDITIONS OF SUPERVISION"
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                                                                                                            Judgment 4
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 3 - Supervised Release
Defendant: KAREN ANNETTE YOUNG
Case Number: 1:05-CR-00198-002
                                      SUPERVISED RELEASE
                        STANDARD CONDITIONS OF SUPERVISION
1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report
        within the first five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
        probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for
        schooling, training, or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or
        employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
        administer any controlled substance or any paraphernalia related to any controlled substances, except as
        prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
        administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with
        any person convicted of a felony unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall
        permit confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a
        law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement
        agency without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned
        by the defendant's criminal record or personal history or characteristics, and shall permit the probation
        officer to make such notifications and to confirm the defendant's compliance with such notification
        requirement;

14) the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if applicable,
        under the provisions of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants convicted of qualifying
        offenses.
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                                                                                                           Judgment 5
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 5, Part A - Criminal Monetary Penalties
Defendant: KAREN ANNETTE YOUNG
Case Number: 1:05-CR-00198-002
                          CRIMINAL MONETARY PENALTIES

       The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth on Sheet 5, Part B.

                                   Assessment                        Fine                     Restitution
          Totals:                  $100.00                                                    $2,261.00

()        The determination of restitution is deferred until   . An Amended Judgment in a Criminal
          Case (AO 245C) will be entered after such a determination.

If the defendant makes a partial payment, each payee shall receive an approximately proportional
payment unless specified otherwise in the priority order or percentage payment column below. (or see
attached) However, pursuant to 18 U.S.C. § 3644(i), all non-federal victims must be paid in full prior
to the United States receiving payment.

(X)       The defendant shall make restitution (including community restitution) to the following payees
          in the amounts listed below.

Name(s) and                       *Total                             Amount of                       Priority Order
Address(es) of Payee(s)           Amount of Loss                     Restitution Ordered           or % of Payment
Drug Enforcement Administration                                      $2,261.00
900 Western America Circle
Mobile, Alabama 36609
RE: Case GQ-03-S040
Invoice #s: FH26170-1&2
Appropriation #: H1-2003-0426-06167

          TOTALS:                          $                         $2,261.00

(X) If applicable, restitution amount ordered pursuant to plea agreement. $ 2,261.00
() The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or
restitution is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f).
All of the payment options on Sheet 5, Part B may be subject to penalties for default, pursuant to 18 U.S.C. §
3612(g).


(X) The court determined that the defendant does not have the ability to pay interest and it is ordered that:
  (X) The interest requirement is waived for the () fine and/or (X) restitution.
  () The interest requirement for the () fine and/or () restitution is modified as follows:

      * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18,
      United States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
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                                                                                                               Judgment 6
AO 245B (Rev. 06/05) Judgment in a Criminal Case: Sheet 5, Part B - Schedule of Payments
Defendant: KAREN ANNETTE YOUNG
Case Number: 1:05-CR-00198-002
                                    SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be
due as follows:
    A        (X) Lump sum payment of $ 2,361.00            due immediately, balance due
             () not later than       , or (X) in accordance with () C, () D, () E or (X) F below; or
    B        () Payment to begin immediately (may be combined with () C, () D, () E or () F below); or
    C        () Payment in      (e.g., equal, weekly, monthly, quarterly) installments of $          over a
             period of        (e.g., months or years), to commence                    (e.g., 30 or 60 days) after the
             date of this judgment; or
    D        () Payment in         (e.g., equal, weekly, monthly, quarterly) installments of $        over a
             period of      (e.g., months or years), to commence           (e.g., 30 or 60 days) after
             release from imprisonment to a term of supervision; or
    E        () Payment during the term of supervised release will commence within        (e.g., 30 or 60
             days) after release from imprisonment. The court will set the payment plan based on an
             assessment of the defendant's ability to ay at that time; or
    F        (X) Special instructions regarding the payment of criminal monetary penalties: Restitution
    is due immediately and payable in full, and is to be paid through the Clerk, U.S. District Court. If full
    restitution is not immediately paid, any amount owing during a period of incarceration shall be subject to
    payment through the Bureau of Prison's Inmate Financial Responsibility Program. As a special condition of
    supervised release, the Probation Office shall pursue collection of any balance remaining at the time of release
    in installments to commence no later than 30 days after the date of release. If restitution is to be paid in
    installments, the court orders that the defendant make at least minimum monthly payments in the amount of
    $50.00; and further orders that interest shall not accrue on this indebtedness. The defendant is ordered to
    notify the court of any material change in her ability to pay restitution. The Probation Office shall request the
    court to amend any payment schedule, if appropriate.

    Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a
    period of imprisonment payment of criminal monetary penalties shall be due during the period of
    imprisonment. All criminal monetary penalty payments, except those payments made through the Federal
    Bureau of Prisons' Inmate Financial Responsibility Program, are to be made to the clerk of court, unless
    otherwise directed by the court, the probation officer, or the United States attorney.

    The defendant will receive credit for all payments previously made toward any criminal monetary penalties
    imposed.

    (X) Joint and Several: See attached.
    () The defendant shall pay the cost of prosecution.
    () The defendant shall pay the following court cost(s):
    () The defendant shall forfeit the defendant's interest in the following property to the United States:
Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4)
fine principal; (5) fine interest , (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution
and court costs.
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Judgment in a Criminal Case: Sheet 5, Part B - Schedule of Payments

Defendant: KAREN ANNETTE YOUNG                                                  Judgment - Page   5B
Case Number: 1:05-CR-00198-002

               ADDITIONAL DEFENDANTS HELD JOINT & SEVERAL
       Case Number:                                                                               Joint & Several
(including dft. number)                    Defendant Name:                                        Dollar Amount:
1:05-CR00198-001                           Robert Dwayne Hendrix                                  $2,261.00
1:05-CR00198-003                           Denise E. Carter                                       $2,261.00
1:05-CR00198-004                           William Shadrick Finch                                 $2,261.00
